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RECEIVED
IN CLERK'S OFFICE
IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE AUG 1 9 2016
DIVISION U.S. DISTRICT COURT
Lakey <x bles, MID. DIST. TENN.
(Ngme) ) (List the names of all the plaintiffs filing
Al “A J’ ) this lawsuit. Do not use “et al.” Attach
(Prison Id. No.) ) additional sheets if necessary.)
Le )
EC. " tts i Ne 7 CR _? )
<—~ (Name) ~ )
5 ) Civil Action No.
(Prison Id. No.) ) (To be assigned by the Clerk’s Office.
) Do not write in this space.)
Plaintiff(s) )
) “
Vv. ) JURY TRIAL REQUESTED }/ YES __NO
t- )
“D iC K Son. Co eA ty AKL / ) (List the names of all defendants
() (Name) ) — J oe ee ) against whom you are filing this
harlarrte (bh, J40 86 ) lawsuit. Do you use “et al.” Attach
(Name) ) additional sheets if necessary.)
)
Defendant(s) )

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS FILED
PURSUANT TO 42 U.S.C. § 1983

l. PARTIES TO THIS LAWSUIT

A. Plaintiff(s) bringing this lawsuit:

1. Name of the first plaintiff: Lb REY Dd 5 KK leg SS
Prison I.D. No. of the first plaintift,. _ — 4
Address of the first plaintiff: sa» Boo 3 £ ') O CA arlo £4L TA!

37036

Status of Plaintiff: CONVICTED (___) PRETRIAL DETAINEE (__)

2. Name of the second plaintiff: ALLA

Prison I.D. No. of the second plaintiff:
Address of the second plaintiff:

Status of Plaintiff; CONVICTED (__) PRETRIAL DETAINEE (___)

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Revised 11/2014

(include the name of the institution and mailing address with zip code for each plaintiff. If
any plaintiff changes his or her address, he or she must notify the Court immediately. If there
are more than two plaintiffs, list their names, prison identification numbers, and addresses on

a separate sheet of paper.)

B. Defendant(s) against whom this lawsuit is being brought:

' /. \ a ‘oF
1. Name of the first defendant: Dic Kso KK UU OuUnn Y Vea d /
Place of employment of the first defendant: :

First defendant’s address: fo Soy /72 Charli tre Tv

SDOIL
Named in official capacity? eves ___No
Named in individual capacity? Yes ~~ No
pays — ‘Dept. Netes

2, Name of the second defendant: Ve aM ee As Kore
Place gf employment of the second defendant: We K FIO Cau flay
i164 | . oe /
Second defendant’s address: (ne e/o Pe “TA Se G
"Pa Box /97 Afeumysr "Keren
Oo YUU pe fe) ow Murce.

Named in official capacity? Yes __No _
Named in individual capacity? _ Yes No

(If there are more than two defendants against whom you are bringing this lawsuit, you must
list on a separate sheet of paper the name of each additional defendant, his or her place of
employment, address, and the capacity in which you are suing that defendant. If you do not
provide the names of such additional defendants, they will not be included in your lawsuit. If
you do not provide each defendant’s proper name, place of employment, and address, the
Clerk will be unable to serve that defendant should process issue.)

II. JURISDICTION

A. Jurisdiction is asserted pursuant to 42 U.S.C. § 1983 (applies to state prisoners).
Jurisdiction is also invoked pursuant to 28 U.S.C. § 1343(a)(3).

if you wish to assert jurisdiction under different or additional statutes, you may list
them below:

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IH. PREVIOUS LAWSUITS (The following information must be provided by each plaintiff.)

A. Have you or any of the other plaintiffs in this lawsuit filed any other lawsuit(s) in the
United States District Court for the Middle District of Tennessee, or in any other

federal or state court? ___Yes ly No

B. If you checked the box marked “Yes” above, provide the following information:

1.

Parties to the previous lawsuit:

Plaintiffs f }

Defendants Alé AT

In what court did you file the previous lawsuit?

(If you filed the lawsuit in federal court, provide the name of the District. If you
filed the lawsuit in state court, provide the name of the state and the county. }

AA ,
What was the case number of the previous lawsuit? & Uv a ae

What was the Judge’s name to whom the case was assigned?

What type of case was it (for example, habeas corpus or civil rights action)?
: f &
(
When did you file the Pre Oy (Provide the year, if you do not know

the exact date.) CL

What was the result of the previous lawsuit? For example, was the case
dismissed or appealed, or is it still pending? Ll4y é)

When was the previous lawsuit decided bythacourt? (Provide the year, if you
do not know the exact date.) é LA

Did the circumstances of the prior lawsuit involve the same facts or
circumstances that you are alleging in this lawsuit? ___Yes VNo

(If you have filed more than one prior lawsuit, list the additional lawsuit(s) on a
separate sheet of paper, and provide the same information for the additional

lawsuit(s).)

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lV. EXHAUSTION

A. Are the facts of your lawsuit related to your present confinement?

Ves ___No

B. If you checked the box marked “No” in question II.B above, provide the name and
address, of the prison or jail to which the facts of this lawsuit pertain.
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C. Do the facts of your lawsuit relate to your confinement in a Tennessee state prison?

Yes V/ No
a

(if you checked the box marked “No,” proceed to question IV.G. If you checked the
box marked “Yes,” proceed to question IV.D.)

D. Have you presented these facts. to the prison authorities through the state
grievance procedure? _7_ Yes No

E. if you checked the box marked "Yes" in LL, 1I.D above:

1. wnpt steps dic ye ake? Lops On fel/s, LT Ainceys
Ae j hero FF Pledsoe :

2. What was the response of prison authorities? Smoar + Pe mnar ke
he hows ADE ail Raw

F. If you checked the box marked “No” in question IV.D above, explain why not. M4

G. Do the facts of your lawsuit pertain to your confinement in a detention facility
operated by city or county law enforcement agencies (for example, city or county

jail, workhouse, etc.)? xX Yes ___No

H. If “Yes” to the question above, have you presented these facts to the authorities
who operate the detention facility? Yes ___No

|. Ifyou checked the box marked “Yes” in question III.H above:

1. What steps did you take? The Dephs Ab Mu6es
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2. What was the response of the authorities who run the detention facility?

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J. ff you checked the box marked “No” in question IV.H above, explain why not. WL)
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V. CAUSE OF ACTION

Briefly explain which of your constitutional rights were violated:

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Vi. STATEMENT OF FACTS Asad: tH
State the relevant facts of your case as briefly as possible. Include the dates when the incidents

or events occurred, where they occurred, and how each defendant was involved. Be sure to

include the names of other persons involved and the dates and places of their involvement.

If you set forth more than one claim, number each claim separately and set forth each claim ina
separate paragraph. Attach additional sheets, if necessary. Use 8 % inch x 11 inch paper. Write
on one side only, and leave a 1-inch margin on all 4 sides.

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VII. RELIEF REQUESTED: State exactly what you want the Court to order each defendant to

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| request a jury trial. cn No

VII. CERTIFICATION

| (we) certify under the penalty of perjury that the foregoing complaint is true to the best of my
(our) information, knowledge and belief.

serore ica Z sbi tee Date: S ; /6 7 6/1 ¢

Prison Id. No.
Address (Include the city, stat and zip code.): OiwKson TM S7A9S
Charlotte TN 37026 Po. fay 199

Signature: é V Li Date:
Prison Id. No. é f
Address (Include the city, state and zip code.):

ALL PLAINTIFFS MUST SIGN AND DATE THE COMPLAINT, and provide the information
requested above. If there are more than two plaintiffs, attach a separate sheet of paper with
their signatures, dates, prison identification numbers, and addresses.

ALL PLAINTIFFS MUST COMPLETE, SIGN, AND DATE SEPARATE APPLICATIONS TO PROCEED IN
DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS, if not paying the civil filing fee.

SUBMIT THE COMPLAINT AND (1) THE REQUIRED FILING FEE OR (2) COMPLETED APPLICATION
TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES AND COSTS TOGETHER.
Complaints received without the required filing fee or application to proceed without
prepayment of fees will be returned. Filing fees and applications to proceed without
prepayment of fees submitted without a complaint will be returned.

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